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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                      Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                         Plaintiffs,
                                                        Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                         Defendants.


                                       Interim Motion to Seal
                                   Third Discovery Dispute Letter

          Pursuant to Local Rule 105.11 and the parties’ Stipulated Confidentiality Order, ECF No.

95, Plaintiffs move to seal the accompanying Third Discovery Dispute Letter and Exhibit A, filed

today under the Court’s April 15 Letter Order Regarding the Filing of Discovery Motions, ECF

No. 80.

          Plaintiffs represent the following facts to justify sealing under Local Rule 105.11. The

parties’ Stipulated Confidentiality Order requires a party to file under seal any materials that have

been designated as Confidential or Attorney’s Eyes Only by another party. In particular, paragraph

2 of the Confidentiality Order states:

          To the extent that any materials designated as Confidential or Attorney's Eyes
          Only under this Confidentiality Order (or any pleading, motion, or memorandum
          disclosing them) are proposed to be filed or are filed with the Court, the portions
          of those materials containing Confidential or Attorney's Eyes Only information
          shall be redacted by the filing party. Non-redacted versions shall be filed under
          seal (by the filing party) with the Clerk of the Court with a simultaneous motion
          pursuant to L.R. 104.13(c) (hereinafter the “Interim Sealing Motion”), in
          accordance with the current version of the Court's Electronic Filing Requirements
          and Procedures for Civil Cases. The Interim Sealing Motion shall be governed by
          L.R. 105.11, provided that the Court can deny an Interim Sealing Motion prior to
          14 days in part or in full. Even if the filing party believes that the materials
          designated as Confidential or Attorney's Eyes Only are not properly classified as
          Confidential or Attorney's Eyes Only, the filing party shall file the Interim
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       Sealing Motion; provided, however, that the filing of the Interim Sealing Motion
       shall be wholly without prejudice to the filing party rights under paragraph (4) of
       this Confidentiality Order.

ECF No. 95, ¶ 2 (emphasis added).

       The accompanying Third Discovery Dispute Letter contains information regarding the

Government’s discovery responses, custodians, and searches. Exhibit A to the Third Discovery

Dispute Letter contains email correspondence between the parties regarding the dispute discussed

in the Letter. The Government has designated these materials as Confidential or Attorneys’ Eyes

Only under the Stipulated Confidentiality Order and confirmed by e-mail that they were

maintaining their designations in connection with Plaintiffs’ filing of the Third Discovery Dispute

Letter. Accordingly, pursuant to the Confidentiality Order, “even if [Plaintiffs] believe that the

materials designated as Confidential or Attorney's Eyes Only are not properly classified as

Confidential or Attorney’s Eyes Only,” they are required to file this motion seeking to maintain

the designated material under seal. Id.

       Further, Plaintiffs are not simultaneously filing a public version of the accompanying Third

Discovery Dispute Letter, as the Government has designated the entire Third Discovery Dispute

Letter and Exhibit A Confidential or Attorneys Eyes Only. Plaintiffs sought proposed redactions

from the Government in an effort to comply with the Court’s Order reiterating that the applicable

rules regarding sealing must be followed, see ECF Nos. 95, 115, but the Government asserted that

none were needed, and would not consent to a public filing. Plaintiffs rely on the Government to

identify reasons why alternatives to sealing the material not filed publicly would not provide

sufficient protection.




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Dated: May 15, 2025

                                              /s/ Jonathan G. Cooper
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